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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez

   Date:             November 30, 2018
   Courtroom Deputy: Robert R. Keech
   Court Reporter:   Mary George


    Civil Action No. 13-cv-01945-WJM-SKC                  Counsel:

    TYLER SANCHEZ,                                        John A. Culver
                                                          Adam W. Ray
                                                          Seth J. Benezra

          Plaintiff,

    v.

    MIKE DUFFY, Detective, in his individual capacity,    Kelly Dunnaway
    HEATHER MYKES, Detective, in her individual           Gordon L. Vaughan
    capacity,                                             Dawn L. Johnson
                                                          Megan L. Taggart

          Defendants.


                                  COURTROOM MINUTES


   Jury Trial: Day Five

   8:49 a.m.     Court in session. Jury not present.

                 Discussion regarding progress with stipulation regarding emotional
                 damages and cutoff date and scheduling issues.

   8:52 a.m.     Jury enters.

   8:53 a.m.     Plaintiff’s witness Jennie McMillan sworn.

                 Direct examination by Plaintiff by Mr. Culver. Deposition of Jennie
                 McMillan (11/29/16) for purposes of impeachment.
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   9:21 a.m.    Cross examination by Defendants by Ms. Taggart.

   Exhibits R REFUSED.

   9:35 a.m.    Re-direct examination by Plaintiff by Mr. Culver.

   9:40 a.m.    Re-cross examination by Defendants by Ms. Taggart.

   9:42 a.m.    Plaintiff’s witness Michael Duffy sworn.

                Direct examination by Plaintiff by Mr. Benezra.

   Exhibits 73, 74, 245 RECEIVED.

   10:17 a.m.   Court in recess.
   10:36 a.m.   Court in session. Jury enters.

   10:38 a.m.   Plaintiff’s witness Michael Duffy resumes.

                Direct examination by Plaintiff continues by Mr. Benezra. Deposition of
                Michael Brian Duffy (8/11/16) for purposes of refreshing recollection.

   Exhibits 238, 237, 255, 256, 13, 107, 21, 67 RECEIVED.

   11:55 a.m.   Cross examination by Defendants by Ms. Johnson.

   Exhibits R RECEIVED.

   12:12 p.m.   Court’s remarks to jury regarding schedule for the afternoon.

   12:15 p.m.   Jury excused until 2:00 p.m.

                Discussion regarding Rule 50 motions, Court’s protocol for Rule 50
                motions, and schedule of witnesses.

   12:22 p.m.   Court in recess.
   2:03 p.m.    Court in session. Jury not present.

                Discussion regarding case law provided to the Court by Mr. Vaughan.

   2:06 p.m.    Jury enters.




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   2:06 p.m.   Plaintiff’s witness Michael Duffy resumes.

               Cross examination by Defendants continues by Ms. Johnson.

   Exhibits 12, 251, A63 RECEIVED.

   3:20 p.m.   Re-direct examination by Plaintiff by Mr. Benezra.

   3:41 p.m.   Re-cross examination by Defendants by Ms. Johnson.

   3:45 p.m.   Jury excused until Monday, December 3, 2018, at 8:45 a.m.

   3:45 p.m.   Court in recess.

   Trial continued.
   Total Time in Court: 4:56




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